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                                                                  D FILED
                                                               US ISTRICT COURT
               IN THE UNITED STATES DISTRICT COURT FOR           SAVANNAH DIV.
                  THE SOUTHERN DISTRICT OF GEORGIA
                                                       7 I5 DEC 2I PM 14:25
                          SAVANNAH DIVISION

UNITED STATES OF AMERICA
                                                                SO. 01ST. OF
V.                                         CASE NO. 4:08-cr-00315-14

Demetrius Marcellus Green,
aka "DD"

     Defendant.

                                 ORDER

      Before the Court is Defendant's Motion to Modify Sentence

Pursuant to Retroactive Amendment 750 (Doc. 1556), filed on

August 31, 2015. This motion constitutes Defendant's                 second

motion for a sentence reduction pursuant to Amendment 750 to the

United States Sentencing Guidelines. The first motion was filed

on October 31, 2013 (Doc. 1468), and was denied by this Court on

May 14, 2014 (Doc. 1486), as Amendment 750 did not have the

effect of lowering Defendant's guideline range.

      Defendant's sentence was reduced by this Court on June 10,

2015, as a result of Amendment 782, from 194 months to 158

months. For unknown reasons, Defendant has again submitted a

motion for relief under Amendment 750, asserting essentially the

same argument he did in 2013: that the Court should revisit the

drug quantity it adopted at sentencing, attribute him with a

lower amount, and reduce his sentence accordingly.

      As previously noted by the Court, the Eleventh Circuit has

made clear that sentencing courts may not reconsider the

quantity of drugs attributed to a Defendant in the context of a

motion for reduced sentence under 18 U.S.C. § 3582(c) (2).

United States v. Dewitt, 352 F. App'x 348, 351 (11th1 Cir. 2009)
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("[A] § 3582 proceeding does not authorize a court to reconsider

original sentencing determinations.")

     As noted above, Amendment 750 does not have the effect of

lowering Defendant's guideline range, nor does the Court have

the authority to re-examine its original sentencing

determinations. Accordingly, Defendant's motion is DENIED.

     SO ORDERED this          day of




                            WILLIAM T. MOORE, JR. JV
                            JUDGE, U.S. DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA




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